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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

MICHAEL HYATT                                         )   CIVIL ACTION NO.: 2:22-cv-04004
                                                      )
VERSUS                                                )   JUDGE ELDON E. FALLON
                                                      )
ABR LOGISTICS, LLC., THOMAS JOHNSON,                  )   MAGISTRATE KAREN W. ROBY
AND QBE UK LIMITED                                    )

    ALABAMA SHIPYARD, LLC’S STATEMENT OF UNCONTESTED MATERIAL
      FACTS IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGEMENT

        NOW COMES, Alabama Shipyard, LLC (“ASY”) in support of its Motion for Summary

Judgment dismissing the Third-Party Complaint, submits the following uncontested material facts:

                                            (1)

        ASY owns and operates a ship repair and ship scrapping facility in Mobile, Alabama.

(Attachment 1, Unsworn Declaration of Timothy A. DeLong)

                                            (2)

        At all material times, ASY employed Michael Hyatt (“Hyatt”) as a rigger supervisor and

crane operator. (Attachment 1, Unsworn Declaration of Timothy A. DeLong)

                                            (3)

        ASY purchased the GAEA 6, formerly known as the HERCULES 202, from Offshore

Equipment, LLC., as scrap devoid of critical drilling equipment. (Attachment 1-A, Purchase Sale

Agreement attached to Unsworn Declaration of Timothy A. DeLong)

                                            (4)

        On October 5, 2021, ASY entered into a Master Time Charter Agreement (“MTCA”) with

ABR Logistics, LLC. (“ABR”) (Attachment 2, Master Time Charter Agreement)

                                            (5)

        On or about October 20, 2021, Hyatt was transported to the GAEA 6 on the M/V MISS


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WYNTER.

                                               (6)

        Hyatt alleges that the M/V MISS WYNTER struck/allided with the ingress/egress ladder

of the GAEA 6 while he was climbing, causing a hand injury. (Seaman Complaint against All

Defendants, R. Doc. 1)

                                               (7)

        ASY paid benefits to Hyatt under the LHWCA as his employer.

                                               (8)

        Article 12 of the MTCA expressly provides that “It is understood and agreed that Client’s

(ASY) liability insurance shall exclude from coverage for those risks assumed or insured by

Company (ABR)…” (Attachment 2)

                                               (9)

        Exhibit B of the MTCA obligates ABR to obtain liability insurance and to name ASY as

an additional insured. (Attachment 2, page 12-13)

                                             Respectfully submitted,


                                             /s/ Grady S. Hurley
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                                             AUSTIN S. GLASCOE (#38236)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that, on October 24, 2023, a copy of the foregoing has been forwarded to

all parties and counsel of record via the Court’s E-filing system, U.S. Mail, email, and/or facsimile.


                                               /s/ Grady S. Hurley
                                               GRADY S. HURLEY




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